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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MONTANA
                             MISSOULA DIVISION

JOHN AMBLER and STACY
AMBLER,                                      Cause No.: CV 23-151-M-DLC-KLD

                     Plaintiffs,
       v.                                           INTERVENOR’S
                                                 MOTION FOR SUMMARY
FLATHEAD CONSERVATION                                 JUDGMENT
DISTRICT,

                     Defendant.

       and

FRIENDS OF MONTANA STREAMS
AND RIVERS,

                     Intervenors,


      Comes now, Intervenors Friends of Montana Streams and Rivers and

respectfully request that this Court, pursuant to Rule 56, F. R. Civ. P., grant
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summary judgment in favor of the Defendant and Intervenors on Count I of the

Plaintiff’s Complaint.

   Dated this 3rd day of June, 2024.

                                       MORRISON SHERWOOD
                                       WILSON DEOLA, PLLP

                                       By:   /s/Robert Farris-Olsen
                                             Robert Farris-Olsen

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